               Case 2:06-cr-00325-JAM Document 37 Filed 06/18/07 Page 1 of 2


1    DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
2    117 J Street, Suite 202
     Sacramento, California 95814
3    916-447-1193
4    Attorney for Defendant
     STEVEN STEELE
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7
8                                IN THE UNITED STATES DISTRICT COURT
9                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         )                NO. CR. 06-0325 GEB
12               Plaintiff,              )
                                         )                AMENDED
13         v.                            )                STIPULATION AND
                                         )                PROPOSED ORDER
14   STEVEN STEELE                       )
                                         )
15               Defendant.              )
     ____________________________________)
16
17          Defendants, through counsel, and the United States of America, through Assistant U.S. Attorney
18   Jason Hitt, agree that the Status Conference set for June 15, 2007 at 9:00 am be continued to July 13,
19   2007 at 9:00 am.
20          In addition, it is agreed that the court should find excludable time from June 15, 2007 to July 13,
21   2007, pursuant to local rule T-4.
22
23   Respectfully submitted,
24
25   DATED: June 12, 2007                                        /S/Dwight M. Samuel_________
                                                                  DWIGHT M. SAMUEL
26                                                                Attorney for Defendant
                                                                  Steven Steele
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             Case 2:06-cr-00325-JAM Document 37 Filed 06/18/07 Page 2 of 2


1    DATED: June 12, 2007                        /S/Gilbert A. Roque____________
                                                 GILBERT A. ROQUE
2
                                                 Attorney for Defendant
3                                                Fernando Maloney

4
     DATED: June 12, 2007                        /S/Matt Bockmon_____________
5                                                MATT BOCKMON
6                                                Attorney for Defendant
                                                 Mark Hirschfield
7
     DATED: June 12, 2007
8                                                /S/Jason Hitt_______________
9                                                Jason Hitt
                                                 Assistant United States Attorney
10                                               (Signed per Telephonic authorization)

11
12      IT IS SO ORDERED.

13   Dated: June 15, 2007
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15
                                        GARLAND E. BURRELL, JR.
16                                      United States District Judge

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